                  Case 13-35468-JHW                              Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                                                   Desc Main
B1 (Official Form 1)(04/13)
                                                                                Document     Page 1 of 68
                                                  United States Bankruptcy Court
                                                              District of New Jersey                                                                               Voluntary Petition
           }
           b
           k
           1
           {
           F
           o
           r
           m
           .
           V
           l
           u
           n
           t
           a
           y
           P
           e
           i




 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Condella, Brian D.                                                                                           Condella, Anne M.


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-9331                                                                                                  xxx-xx-7610
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  41 Sunset Boulevard                                                                                         41 Sunset Boulevard
  Egg Harbor Township, NJ                                                                                     Egg Harbor Township, NJ
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         08234                                                                                         08234
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Atlantic                                                                                                     Atlantic
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):
  PO Box 743                                                                                                  PO Box 743
  Somers Point, NJ                                                                                            Somers Point, NJ
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         08244                                                                                         08244
Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
             Case 13-35468-JHW                      Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                                          Desc Main
B1 (Official Form 1)(04/13)
                                                                 Document     Page 2 of 68                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Condella, Brian D.
(This page must be completed and filed in every case)                                   Condella, Anne M.
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
             Case 13-35468-JHW                        Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                                       Desc Main
B1 (Official Form 1)(04/13)
                                                                   Document     Page 3 of 68                                                                            Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Condella, Brian D.
(This page must be completed and filed in every case)                                       Condella, Anne M.
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Brian D. Condella                                                                X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Brian D. Condella

 X    /s/ Anne M. Condella                                                                     Printed Name of Foreign Representative
     Signature of Joint Debtor Anne M. Condella
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     November 20, 2013
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Brian S. Thomas
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Brian S. Thomas                                                                          debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Brian S. Thomas, LLC
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      327 Central Ave.
      Suite 103                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      Linwood, NJ 08221                                                                        an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                      Email: law4sure@technology21.com
      609-601-6066 Fax: 609-601-6061
     Telephone Number
     November 20, 2013
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
           Case 13-35468-JHW                           Doc 1         Filed 11/20/13 Entered 11/20/13 13:44:50    Desc Main
                                                                     Document     Page 4 of 68


B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                        District of New Jersey
            Brian D. Condella
 In re      Anne M. Condella                                                                      Case No.
                                                                                 Debtor(s)        Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                   Best Case Bankruptcy
             Case 13-35468-JHW                              Doc 1      Filed 11/20/13 Entered 11/20/13 13:44:50   Desc Main
                                                                       Document     Page 5 of 68


B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:        /s/ Brian D. Condella
                                                                                   Brian D. Condella
                                                       Date:         November 20, 2013




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1         Filed 11/20/13 Entered 11/20/13 13:44:50    Desc Main
                                                                     Document     Page 6 of 68


B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                        District of New Jersey
            Brian D. Condella
 In re      Anne M. Condella                                                                      Case No.
                                                                                 Debtor(s)        Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                   Best Case Bankruptcy
             Case 13-35468-JHW                              Doc 1      Filed 11/20/13 Entered 11/20/13 13:44:50   Desc Main
                                                                       Document     Page 7 of 68


B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:        /s/ Anne M. Condella
                                                                                   Anne M. Condella
                                                       Date:         November 20, 2013




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy
                Case 13-35468-JHW                          Doc 1       Filed 11/20/13 Entered 11/20/13 13:44:50                 Desc Main
                                                                       Document     Page 8 of 68
B6 Summary (Official Form 6 - Summary) (12/07)


          }
          b
          k
          1
          {
          F
          o
          r
          m
          6
          .
          S
          u
          a
          y
          f
          c
          h
          e
          d
          l
          s




                                                               United States Bankruptcy Court
                                                                         District of New Jersey
  In re          Brian D. Condella,                                                                          Case No.
                 Anne M. Condella
                                                                                                       ,
                                                                                      Debtors                Chapter                      7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED          NO. OF          ASSETS                LIABILITIES                OTHER
                                                         (YES/NO)         SHEETS

A - Real Property                                              Yes           1               1,220,000.00


B - Personal Property                                          Yes           5                  739,739.00


C - Property Claimed as Exempt                                 Yes           3


D - Creditors Holding Secured Claims                           Yes           2                                     4,731,201.00


E - Creditors Holding Unsecured                                Yes           2                                          27,501.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes           11                                        733,465.00
    Nonpriority Claims

G - Executory Contracts and                                    Yes           1
   Unexpired Leases

H - Codebtors                                                  Yes           1


I - Current Income of Individual                               Yes           1                                                                     3,388.65
    Debtor(s)

J - Current Expenditures of Individual                         Yes           1                                                                     3,423.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                   28


                                                                       Total Assets          1,959,739.00


                                                                                        Total Liabilities          5,492,167.00




Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                 Case 13-35468-JHW                         Doc 1       Filed 11/20/13 Entered 11/20/13 13:44:50                 Desc Main
                                                                       Document     Page 9 of 68
Form 6 - Statistical Summary (12/07)


          }
          e
          b
          k
          r
          {
          t
          1
          a
          i
          F
          n
          o
          L
          m
          6
          .
          l
          S
          s
          c
          d
          R
          u
          y
          D
          f
          C




                                                               United States Bankruptcy Court
                                                                        District of New Jersey
  In re           Brian D. Condella,                                                                           Case No.
                  Anne M. Condella
                                                                                                           ,
                                                                                        Debtors                Chapter                     7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                             TOTAL


              State the following:

              Average Income (from Schedule I, Line 16)


              Average Expenses (from Schedule J, Line 18)

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
               Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                  Desc Main
                                                                       Document      Page 10 of 68
B6A (Official Form 6A) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          A
          -
          R
          a
          P
          r
          o
          p
          t
          y




  In re         Brian D. Condella,                                                                              Case No.
                Anne M. Condella
                                                                                                    ,
                                                                                      Debtors
                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                    Husband,    Current Value of
                                                                            Nature of Debtor's       Wife,     Debtor's Interest in             Amount of
                Description and Location of Property                        Interest in Property     Joint, or  Property, without              Secured Claim
                                                                                                   Community Deducting  any Secured
                                                                                                               Claim or Exemption

Location: 41 Sunset Boulevard, Egg Harbor                                   owner                       H                  520,000.00              2,520,000.00
Township NJ 08234

Location: 20 Cobblestone Lane, Westville, NJ                                debtor co-owner with        J                  450,000.00              1,800,000.00
                                                                            Education Partners, LLC
                                                                            & 20 Cobblestone Lane,
                                                                            LLC

Location: 916 McGeary Place, Mays Landing, NJ                               debtor co-owner with 916    J                  200,000.00                 249,204.00
08330                                                                       McGeary Place, LLC

Location: 1410 Broad Street, Pleasantville, NJ                              joint debtor co-owner       J                   50,000.00                 140,000.00
08232                                                                       w/1410 Broad Street, LLC




                                                                                                      Sub-Total >      1,220,000.00           (Total of this page)

                                                                                                            Total >    1,220,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                      (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
               Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                        Desc Main
                                                                       Document      Page 11 of 68
B6B (Official Form 6B) (12/07)


          }
          k
          b
          {
          1
          S
          c
          h
          e
          d
          u
          l
          B
          -
          P
          r
          s
          o
          n
          a
          p
          t
          y




  In re         Brian D. Condella,                                                                                 Case No.
                Anne M. Condella
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                            Location: 41 Sunset Boulevard, Egg Harbor                       J                        1,000.00
                                                              Township NJ 08234

2.    Checking, savings or other financial                    TD Bank #6228                                                   W                           200.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Living room - couches, TV, recliner, loveseats                  J                        2,000.00
      including audio, video, and                             Location: 41 Sunset Boulevard, Egg Harbor
      computer equipment.                                     Township NJ 08234

                                                              Dining room - table, chairs, clock, stools, cabinet             J                        1,000.00
                                                              Location: 41 Sunset Boulevard, Egg Harbor
                                                              Township NJ 08234

                                                              Bedroom (4)/playroom - beds, dressers,                          J                        3,000.00
                                                              nightstands, TVs, toys
                                                              Location: 41 Sunset Boulevard, Egg Harbor
                                                              Township NJ 08234

                                                              Loft - exercise machine, desk                                   J                           750.00
                                                              Location: 41 Sunset Boulevard, Egg Harbor
                                                              Township NJ 08234

                                                              Computer, laptop                                                J                           200.00
                                                              Location: 41 Sunset Boulevard, Egg Harbor
                                                              Township NJ 08234

                                                              Washer, dryer                                                   J                           400.00
                                                              Location: 41 Sunset Boulevard, Egg Harbor
                                                              Township NJ 08234




                                                                                                                              Sub-Total >            8,550.00
                                                                                                                  (Total of this page)

  4     continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                        Desc Main
                                                                       Document      Page 12 of 68
B6B (Official Form 6B) (12/07) - Cont.




  In re         Brian D. Condella,                                                                                 Case No.
                Anne M. Condella
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

5.    Books, pictures and other art                           Location: 41 Sunset Boulevard, Egg Harbor                       J                        1,000.00
      objects, antiques, stamp, coin,                         Township NJ 08234
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Location: 41 Sunset Boulevard, Egg Harbor                       J                        2,000.00
                                                              Township NJ 08234

7.    Furs and jewelry.                                       Wedding ring, engagement ring, watch                            J                        3,000.00
                                                              Location: 41 Sunset Boulevard, Egg Harbor
                                                              Township NJ 08234

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                        Term                                                            H                              0.00
      Name insurance company of each
      policy and itemize surrender or                         Term                                                            W                              0.00
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                        UBS                                                             W                        3,348.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                       Education Partners, LLC                                         J                      15,000.00
    and unincorporated businesses.                            assets: preschool equipment, paraphenalia
    Itemize.                                                  ($15,000.)
                                                              debts total $1.8 million

                                                              20 Cobblestone Lane, LLC 100%                                   J                     450,000.00
                                                              building ($450,000.) value includes business
                                                              equipment
                                                              debt $1.8 million

                                                              916 McGeary Place, LLC 100%                                     J                     200,000.00
                                                              building value $200,000.
                                                              liens $245,000.




                                                                                                                              Sub-Total >        674,348.00
                                                                                                                  (Total of this page)

Sheet 1 of 4          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                        Desc Main
                                                                       Document      Page 13 of 68
B6B (Official Form 6B) (12/07) - Cont.




  In re         Brian D. Condella,                                                                                 Case No.
                Anne M. Condella
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption
                                                              1410 Broad Street, LLC 100%                                     J                      50,000.00
                                                              building value $50,000.
                                                              liens $140,000.

                                                              5 Tilton Road, LLC                                              J                              0.00
                                                              no assets

                                                              6215 Black Horse Pike, LLC                                      J                              0.00
                                                              no assets

                                                              150 40th Street, LLC                                            J                              0.00
                                                              no assets

                                                              512 East Hilltop Drive, LLC                                     J                              0.00
                                                              no assets

                                                              530 West Ocean Heights Avenue, LLC                              J                              0.00
                                                              no assets

                                                              BC Rental Properties, LLC                                       J                              0.00
                                                              no assets

                                                              2020 New Road, LLC                                              J                              0.00
                                                              no assets

                                                              145 Woodland Avenue, LLC                                        J                              0.00
                                                              no assets

                                                              220 North 4th Street, LLC                                       J                              0.00
                                                              no assets

                                                              10 Woodland Avenue, LLC                                         J                              0.00
                                                              no assets

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.




                                                                                                                              Sub-Total >          50,000.00
                                                                                                                  (Total of this page)

Sheet 2 of 4          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                        Desc Main
                                                                       Document      Page 14 of 68
B6B (Official Form 6B) (12/07) - Cont.




  In re         Brian D. Condella,                                                                                 Case No.
                Anne M. Condella
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2010 Ford Edge                                                  J                        6,841.00
    other vehicles and accessories.                           90,000 miles

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.


                                                                                                                              Sub-Total >            6,841.00
                                                                                                                  (Total of this page)

Sheet 3 of 4          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
               Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                         Desc Main
                                                                       Document      Page 15 of 68
B6B (Official Form 6B) (12/07) - Cont.




  In re         Brian D. Condella,                                                                                 Case No.
                Anne M. Condella
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                              Sub-Total >                  0.00
                                                                                                                  (Total of this page)
                                                                                                                                   Total >       739,739.00
Sheet 4 of 4          continuation sheets attached
to the Schedule of Personal Property                                                                                          (Report also on Summary of Schedules)
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                                 Desc Main
                                                                        Document      Page 16 of 68
 B6C (Official Form 6C) (4/13)


           E
           }
           x
           b
           e
           k
           m
           1
           p
           {
           t
           S
           c
           h
           d
           u
           l
           C
           -
           P
           r
           o
           y
           a
           i
           s




   In re         Brian D. Condella,                                                                                    Case No.
                 Anne M. Condella
                                                                                                           ,
                                                                                        Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                         Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
Location: 41 Sunset Boulevard, Egg Harbor                                 11 U.S.C. § 522(d)(1)                                            0.00                   520,000.00
Township NJ 08234

Location: 20 Cobblestone Lane, Westville, NJ                              11 U.S.C. § 522(d)(1)                                            0.00                   450,000.00

Location: 916 McGeary Place, Mays Landing, NJ                             11 U.S.C. § 522(d)(1)                                            0.00                   200,000.00
08330

Location: 1410 Broad Street, Pleasantville, NJ                            11 U.S.C. § 522(d)(1)                                            0.00                     50,000.00
08232

Cash on Hand
Location: 41 Sunset Boulevard, Egg Harbor                                 11 U.S.C. § 522(d)(5)                                      1,000.00                         1,000.00
Township NJ 08234

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
TD Bank #6228                                     11 U.S.C. § 522(d)(5)                                                                    0.00                          200.00

Household Goods and Furnishings
Living room - couches, TV, recliner, loveseats                            11 U.S.C. § 522(d)(3)                                      2,000.00                         2,000.00
Location: 41 Sunset Boulevard, Egg Harbor
Township NJ 08234

Dining room - table, chairs, clock, stools,                               11 U.S.C. § 522(d)(3)                                      1,000.00                         1,000.00
cabinet
Location: 41 Sunset Boulevard, Egg Harbor
Township NJ 08234

Bedroom (4)/playroom - beds, dressers,                                    11 U.S.C. § 522(d)(3)                                      3,000.00                         3,000.00
nightstands, TVs, toys
Location: 41 Sunset Boulevard, Egg Harbor
Township NJ 08234

Loft - exercise machine, desk                                             11 U.S.C. § 522(d)(3)                                        750.00                            750.00
Location: 41 Sunset Boulevard, Egg Harbor
Township NJ 08234

Computer, laptop                                                          11 U.S.C. § 522(d)(3)                                        200.00                            200.00
Location: 41 Sunset Boulevard, Egg Harbor
Township NJ 08234

Washer, dryer                                                             11 U.S.C. § 522(d)(3)                                        400.00                            400.00
Location: 41 Sunset Boulevard, Egg Harbor
Township NJ 08234

Books, Pictures and Other Art Objects; Collectibles
Location: 41 Sunset Boulevard, Egg Harbor           11 U.S.C. § 522(d)(3)                                                            1,000.00                         1,000.00
Township NJ 08234




    2      continuation sheets attached to Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                 Desc Main
                                                                        Document      Page 17 of 68
 B6C (Official Form 6C) (4/13) -- Cont.




   In re         Brian D. Condella,                                                                         Case No.
                 Anne M. Condella
                                                                                                        ,
                                                                                         Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                (Continuation Sheet)

                                                                                Specify Law Providing           Value of             Current Value of
                   Description of Property                                         Each Exemption               Claimed              Property Without
                                                                                                               Exemption           Deducting Exemption

Wearing Apparel
Location: 41 Sunset Boulevard, Egg Harbor                                 11 U.S.C. § 522(d)(3)                        2,000.00                2,000.00
Township NJ 08234

Furs and Jewelry
Wedding ring, engagement ring, watch                                      11 U.S.C. § 522(d)(4)                        3,000.00                3,000.00
Location: 41 Sunset Boulevard, Egg Harbor
Township NJ 08234

Interests in Insurance Policies
Term                                                                      11 U.S.C. § 522(d)(7)                            0.00                      0.00

Term                                                                      11 U.S.C. § 522(d)(7)                            0.00                      0.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
UBS                                                 11 U.S.C. § 522(d)(12)                                             3,348.00                3,348.00

Stock and Interests in Businesses
Education Partners, LLC                                                   11 U.S.C. § 522(d)(5)                            0.00               15,000.00
assets: preschool equipment, paraphenalia
($15,000.)
debts total $1.8 million

20 Cobblestone Lane, LLC 100%                                             11 U.S.C. § 522(d)(5)                    25,150.00                450,000.00
building ($450,000.) value includes business
equipment
debt $1.8 million

916 McGeary Place, LLC 100%                                               11 U.S.C. § 522(d)(5)                            0.00             200,000.00
building value $200,000.
liens $245,000.

1410 Broad Street, LLC 100%                                               11 U.S.C. § 522(d)(5)                            0.00               50,000.00
building value $50,000.
liens $140,000.

5 Tilton Road, LLC                                                        11 U.S.C. § 522(d)(5)                            0.00                      0.00
no assets

6215 Black Horse Pike, LLC                                                11 U.S.C. § 522(d)(5)                            0.00                      0.00
no assets

150 40th Street, LLC                                                      11 U.S.C. § 522(d)(5)                            0.00                      0.00
no assets

512 East Hilltop Drive, LLC                                               11 U.S.C. § 522(d)(5)                            0.00                      0.00
no assets

530 West Ocean Heights Avenue, LLC                                        11 U.S.C. § 522(d)(5)                            0.00                      0.00
no assets

BC Rental Properties, LLC                                                 11 U.S.C. § 522(d)(5)                            0.00                      0.00
no assets



 Sheet      1     of    2     continuation sheets attached to the Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                  Desc Main
                                                                        Document      Page 18 of 68
 B6C (Official Form 6C) (4/13) -- Cont.




   In re         Brian D. Condella,                                                                          Case No.
                 Anne M. Condella
                                                                                                        ,
                                                                                         Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                (Continuation Sheet)

                                                                                Specify Law Providing            Value of             Current Value of
                   Description of Property                                         Each Exemption                Claimed              Property Without
                                                                                                                Exemption           Deducting Exemption

2020 New Road, LLC                                                        11 U.S.C. § 522(d)(5)                             0.00                      0.00
no assets

145 Woodland Avenue, LLC                                                  11 U.S.C. § 522(d)(5)                             0.00                      0.00
no assets

220 North 4th Street, LLC                                                 11 U.S.C. § 522(d)(5)                             0.00                      0.00
no assets

10 Woodland Avenue, LLC                                                   11 U.S.C. § 522(d)(5)                             0.00                      0.00
no assets

Automobiles, Trucks, Trailers, and Other Vehicles
2010 Ford Edge                                                            11 U.S.C. § 522(d)(2)                             0.00                6,841.00
90,000 miles




                                                                                                    Total:          42,848.00              1,959,739.00
 Sheet      2     of    2     continuation sheets attached to the Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                             Desc Main
                                                                          Document      Page 19 of 68
 B6D (Official Form 6D) (12/07)


           }
           e
           b
           c
           k
           u
           1
           r
           {
           S
           d
           h
           C
           l
           a
           i
           m
           s
           D
           -
           t
           o
           H
           n
           g




   In re         Brian D. Condella,                                                                                          Case No.
                 Anne M. Condella
                                                                                                                ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                           O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                       N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                           T    I   P       WITHOUT            UNSECURED
            INCLUDING ZIP CODE,                              B   W            NATURE OF LIEN, AND                        I    Q   U                          PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                         N    U   T
                                                                                                                                         DEDUCTING
           AND ACCOUNT NUMBER                                O                                                           G    I   E       VALUE OF              ANY
             (See instructions above.)
                                                                 C                OF PROPERTY
                                                             R
                                                                                SUBJECT TO LIEN
                                                                                                                         E    D   D     COLLATERAL
                                                                                                                         N    A
                                                                                                                         T    T
Account No. 6237                                                     2nd mortgage                                             E
                                                                                                                              D

Bank of America                                                      Location: 916 McGeary Place, Mays
PO Box 26078                                                         Landing, NJ 08330
Greensboro, NC 27410
                                                                 J

                                                                        Value $                         200,000.00                        104,204.00               49,204.00
Account No. 6699                                                     1st mortgage

Bank of America                                                      150 40th Street
PO Box 26078                                                         Brigantine, NJ
Greensboro, NC 27410
                                                                 J

                                                                        Value $                               0.00                         10,000.00               10,000.00
Account No. 0058                                                     2nd mortgage

Bank of America Mortgage                                             Location: 41 Sunset Boulevard, Egg
PO Box 26078                                                         Harbor Township NJ 08234
Greensboro, NC 27420
                                                                 J

                                                                        Value $                         520,000.00                        650,000.00             650,000.00
Account No.                                                          1st mortgage

Citimortgage                                                         Location: 916 McGeary Place, Mays
PO Box 183040                                                        Landing, NJ 08330
Columbus, OH 43218
                                                                 J

                                                                        Value $                         200,000.00                        145,000.00                       0.00
                                                                                                                      Subtotal
 1
_____ continuation sheets attached                                                                                                        909,204.00             709,204.00
                                                                                                             (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                               Desc Main
                                                                          Document      Page 20 of 68
 B6D (Official Form 6D) (12/07) - Cont.




   In re         Brian D. Condella,                                                                                             Case No.
                 Anne M. Condella
                                                                                                                   ,
                                                                                                  Debtors

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT        UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                            I    Q   U
                                                                                                                                            DEDUCTING
                                                             T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. 9003                                                     1st mortgage                                                E
                                                                                                                                 D

Nationstar Mortgage                                                  Location: 41 Sunset Boulevard, Egg
PO Box 650783                                                        Harbor Township NJ 08234
Dallas, TX 75219
                                                                 J

                                                                        Value $                         520,000.00                         1,870,000.00       1,350,000.00
Account No. 3399                                                     1st mortgage

Nationstar Mortgage                                                  Location: 1410 Broad Street,
PO Box 650783                                                        Pleasantville, NJ 08232
Dallas, TX 75219
                                                                 J

                                                                        Value $                             50,000.00                        140,000.00           90,000.00
Account No.                                                          Location: 1410 Broad Street,
                                                                     Pleasantville, NJ 08232
Nationstar Mortgage
PO Box 650783
Dallas, TX 75219
                                                                 J

                                                                        Value $                             50,000.00                              0.00                   0.00
Account No.                                                          2010 Ford Edge
                                                                     90,000 miles
Santander
PO Box 961245
Fort Worth, TX 76161
                                                                 J

                                                                        Value $                              6,841.00                         11,997.00             5,156.00
Account No.                                                          1st mortgage

Sun National Bank                                                    Location: 20 Cobblestone Lane,
226 West Landis Avenue                                               Westville, NJ
Vineland, NJ 08360
                                                                 J

                                                                        Value $                         450,000.00                         1,800,000.00       1,350,000.00
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                           3,821,997.00       2,795,156.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)
                                                                                                                          Total            4,731,201.00       3,504,360.00
                                                                                                (Report on Summary of Schedules)

 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                                       Desc Main
                                                                       Document      Page 21 of 68
B6E (Official Form 6E) (4/13)


          }
          n
          b
          s
          k
          e
          1
          c
          {
          u
          S
          r
          h
          d
          P
          l
          i
          o
          E
          t
          -
          y
          C
          a
          m
          H
          g
          U




  In re         Brian D. Condella,                                                                                                 Case No.
                Anne M. Condella
                                                                                                                      ,
                                                                                                Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             1         continuation sheets attached
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1         Filed 11/20/13 Entered 11/20/13 13:44:50                               Desc Main
                                                                         Document      Page 22 of 68
 B6E (Official Form 6E) (4/13) - Cont.




   In re         Brian D. Condella,                                                                                           Case No.
                 Anne M. Condella
                                                                                                                 ,
                                                                                                  Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No. 9331                                                     2010 tax penalty                                          E
                                                                     recover fee                                               D

Pioneer Credit
PO Box 1008                                                                                                                                               0.00
Moorestown, NJ 08057
                                                                 J

                                                                                                                                                  1.00                    1.00
Account No. 9331                                                     2010

State of New Jersey
Department of Taxation                                                                                                                                    0.00
PO Box 267
                                                                 J
Trenton, NJ 08695-0267

                                                                                                                                             20,000.00            20,000.00
Account No. 3660                                                     relates to various LLC renewal fees

State of New Jersey
PO Box 628                                                                                                                                                0.00
Trenton, NJ 08646
                                                                 J

                                                                                                                                              7,500.00              7,500.00
Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)           27,501.00            27,501.00
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)             27,501.00            27,501.00

 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                                   Desc Main
                                                                        Document      Page 23 of 68
 B6F (Official Form 6F) (12/07)


           }
           n
           b
           s
           k
           e
           1
           c
           {
           u
           S
           r
           h
           d
           N
           o
           l
           p
           F
           i
           -
           C
           t
           y
           a
           m
           H
           g
           U




   In re         Brian D. Condella,                                                                                      Case No.
                 Anne M. Condella
                                                                                                                 ,
                                                                                               Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                     Citibank                                                    T   T
                                                                                                                                                E
                                                                                                                                                D

Andrew Allegretto
Superior Court of NJ                                                        J
PO Box 607
Somers Point, NJ 08244
                                                                                                                                                                             1.00
Account No. 8551

ARMC Anesthesiologists
PO Box 8500-1521                                                            J
Philadelphia, PA 19178

                                                                                                                                                                       3,359.00
Account No. 9000

Atlantic Anesthesia and Pain
Management                                                                  J
PO Box 9500-3400
Philadelphia, PA 19195
                                                                                                                                                                         132.00
Account No.                                                                     BAC Home Loans F6502509

Atlantic County Chancery
1201 Bacharach Boulevard                                                    J
Atlantic City, NJ 08401

                                                                                                                                                                             1.00

                                                                                                                                        Subtotal
 10 continuation sheets attached
_____                                                                                                                                                                  3,493.00
                                                                                                                              (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                     S/N:35040-131106   Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                           Desc Main
                                                                        Document      Page 24 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Brian D. Condella,                                                                                  Case No.
                 Anne M. Condella
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                   Chase L00047910                                           E
                                                                              Citibank DC779610                                         D

Atlantic County Special Civil Part                                            Midland Funding DC00555513
1201 Bacharach Boulevard                                                    J Hann Financial DC1249510
Atlantic City, NJ 08401                                                       RBS L212710


                                                                                                                                                                  1.00
Account No. 1347                                                                medical

Atlantic Medical Imaging
PO Box 1149                                                                 J
Mount Laurel, NJ 08054

                                                                                                                                                            1,360.00
Account No. 0924                                                                medical

Atlanticare Regional Medical Center
PO Box 8500 1266                                                            J
Philadelphia, PA 19178

                                                                                                                                                            1,115.00
Account No. 3677

Atlanticare Surgery Center
106 Courthouse South Dennis Road                                            J
Cape May Court House, NJ 08210

                                                                                                                                                              765.00
Account No. 8304, 5091

Bank of America
PO Box 15719                                                                J
Wilmington, DE 19886

                                                                                                                                                          89,256.00

           1
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          92,497.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                           Desc Main
                                                                        Document      Page 25 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Brian D. Condella,                                                                                  Case No.
                 Anne M. Condella
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. 5299                                                                                                                        E
                                                                                                                                        D

Bank of America
PO Box 26078                                                                J
Greensboro, NC 27410

                                                                                                                                                          10,000.00
Account No. 6931;7130;1455;8034;1342;8402                                       business and personal use
                                                                                approximately 2008 and 2009
Barclay Bank/Spirit Airlines
PO Box 13337                                                                J
Philadelphia, PA 19101

                                                                                                                                                        125,640.00
Account No. 7466                                                                Atlanticare Surgery

Berks Credit and Collection
PO Box 329                                                                  J
Temple, PA 19560

                                                                                                                                                                  1.00
Account No. 7910, 1636                                                          Chase

Brad D. Layton, Esquire
900 US Highway 9                                                            J
Suite 401
Woodbridge, NJ 07095
                                                                                                                                                                  1.00
Account No. 0026                                                                boat deficiency

Charter One
235 East Main Street                                                        J
Rochester, NY 14604

                                                                                                                                                        170,153.00

           2
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                        305,795.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                           Desc Main
                                                                        Document      Page 26 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Brian D. Condella,                                                                                  Case No.
                 Anne M. Condella
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. 1636                                                                business and personal use                               E
                                                                                approximately 2008 and 2009                             D

Chase
PO Box 15153                                                                J
Wilmington, DE 19886

                                                                                                                                                          28,763.00
Account No. 6237

Citibank
PO Box 6241                                                                 J
Sioux Falls, SD 57117

                                                                                                                                                            8,677.00
Account No. 8339                                                                Bank of America
                                                                                2nd mortgage 41 Sunset Boulevard
Drew Eckl, Esquire
PO Box 7600                                                                 J
Atlanta, GA 30357

                                                                                                                                                                  1.00
Account No. 1306

Dyck-O'Neal, Inc.
PO Box 841776                                                               J
Dallas, TX 75284

                                                                                                                                                            2,053.00
Account No. 8304, 0426                                                          Fia Card

Dynia & Associates, LLC
4849 North Milwaukee Avenue                                                 J
Chicago, IL 60630

                                                                                                                                                                  1.00

           3
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          39,495.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                           Desc Main
                                                                        Document      Page 27 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Brian D. Condella,                                                                                  Case No.
                 Anne M. Condella
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. 1601, 6931                                                          Barclay Bank                                            E
                                                                                                                                        D

Enhanced Recovery Corporation
8014 Bayberry Road                                                          J
Jacksonville, FL 32256

                                                                                                                                                                  1.00
Account No. 2130                                                                Bank of America
                                                                                business and personal use
Fia Card                                                                        approximately 2008 and 2009
PO Box 15019                                                                J
Wilmington, DE 19884

                                                                                                                                                          25,225.00
Account No. 1939                                                                legal fees
                                                                                2009
Fox Rothchild, LLP
1301 Atlantic Avenue                                                        J
Atlantic City, NJ 08401

                                                                                                                                                          12,439.00
Account No. 5765                                                                Bank of America

Frederick J. Hanna and Associates
1655 Enterprise Way                                                         J
Marietta, GA 30067

                                                                                                                                                                  1.00
Account No. 2710                                                                RBS

Gess Gess & Scanlon, PC
89 Hudson Street                                                            J
Hoboken, NJ 07030

                                                                                                                                                                  1.00

           4
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          37,667.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                           Desc Main
                                                                        Document      Page 28 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Brian D. Condella,                                                                                  Case No.
                 Anne M. Condella
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. 5045                                                                2nd mortgage deficiency 2010                            E
                                                                                150 4th Street, Brigantine, NJ                          D

Guaranty Bank
4000 West Brown Deer Road                                                   J
Milwaukee, WI 53209

                                                                                                                                                          75,000.00
Account No. 1947                                                                2nd mortgage deficiency 2010
                                                                                2209 Burroughs Avenue, Linwood, NJ
Guaranty Bank
PO Box 245014                                                               J
Milwaukee, WI 53224

                                                                                                                                                        150,875.00
Account No. 6900

Hann Financial
1 Centre Drive                                                              J
Jamesburg, NJ 08831

                                                                                                                                                            4,727.00
Account No. 3001

Horry County Treasurer
PO Box 1237                                                                 J
Conway, NC 28528

                                                                                                                                                            5,883.00
Account No. 5199                                                                Verizon

IC Systems
444 Highway 96                                                              J
Saint Paul, MN 55127

                                                                                                                                                                  1.00

           5
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                        236,486.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                           Desc Main
                                                                        Document      Page 29 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Brian D. Condella,                                                                                  Case No.
                 Anne M. Condella
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. 9510                                                                Hann Financial                                          E
                                                                                                                                        D

Joseph Allegretto
PO Box 353                                                                  J
Absecon, NJ 08201

                                                                                                                                                                  1.00
Account No. 6069                                                                Barclay Bank

MCM
PO Box 939019                                                               J
San Diego, CA 92193

                                                                                                                                                                  1.00
Account No. 6069                                                                Barclay Bank

Midland Funding
8875 Aero Drive                                                             J
San Diego, CA 92123

                                                                                                                                                                  1.00
Account No.

Nationstar Mortgage
PO Box 199400                                                               J
Dallas, TX 75219

                                                                                                                                                                  1.00
Account No. 0022, 5691                                                          Atlanticare Regional Medical Center
                                                                                Atlanticare Aneshesia
NCO
PO Box 4907                                                                 J
Trenton, NJ 08650

                                                                                                                                                                  1.00

           6
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                                  5.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                           Desc Main
                                                                        Document      Page 30 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Brian D. Condella,                                                                                  Case No.
                 Anne M. Condella
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. 8402                                                                Barclay Bank                                            E
                                                                                                                                        D

NES
29125 Solon Road                                                            J
Solon, OH 44139

                                                                                                                                                                  1.00
Account No. 7130                                                                Bank of America
                                                                                Barclay Bank
Northstar
4285 Genesee Street                                                         J
Buffalo, NY 14225

                                                                                                                                                                  1.00
Account No. 0510                                                                Barclay Bank

Plaza Associates
PO Box 18008                                                                J
Hauppauge, NY 11788

                                                                                                                                                                  1.00
Account No.                                                                     Midland Funding

Pressler and Pressler
7 Entin Road                                                                J
Parsippany, NJ 07054

                                                                                                                                                                  1.00
Account No.

Principal Bank
711 High Street                                                             J
Des Moines, IA 50392

                                                                                                                                                                  1.00

           7
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                                  5.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                           Desc Main
                                                                        Document      Page 31 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Brian D. Condella,                                                                                  Case No.
                 Anne M. Condella
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. 4945                                                                Fia Card                                                E
                                                                                                                                        D

Ragan and Ragan
3100 Route 138 West                                                         J
Wall, NJ 07719

                                                                                                                                                                  1.00
Account No.

RBS
PO Box 18204                                                                J
Bridgeport, CT 06601

                                                                                                                                                                  1.00
Account No.                                                                     Citibank

Services Limited Partnership
PO Box 26999                                                                J
San Diego, CA 92196

                                                                                                                                                                  1.00
Account No. 9430                                                                Bank of America

Solace Financial
File #749430                                                                J
Los Angeles, CA 90074

                                                                                                                                                                  1.00
Account No. 2509                                                                BAC Home Loan

Stern Lavinthal et al
293 Eisenhower Parkway                                                      J
Livingston, NJ 07039

                                                                                                                                                                  1.00

           8
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                                  5.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                           Desc Main
                                                                        Document      Page 32 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Brian D. Condella,                                                                                  Case No.
                 Anne M. Condella
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. 6788                                                                                                                        E
                                                                                                                                        D

Strategic Recovery
7880 Bent Branch Drive                                                      J
Irving, TX 75063

                                                                                                                                                            2,053.00
Account No. 6938                                                                Bank of America

Sunrise Credit Services
PO Box 9100                                                                 J
Farmingdale, NY 11735

                                                                                                                                                                  1.00
Account No. 1811                                                                Sun National Bank

The Kancher Law Firm, LLC
100 Grove Street                                                            J
Haddonfield, NJ 08033

                                                                                                                                                                  1.00
Account No. 8814

Verizon
PO Box 4830                                                                 J
Trenton, NJ 08650

                                                                                                                                                                42.00
Account No. 0008

Wells Fargo
PO Box 3117                                                                 J
Winston Salem, NC 27102

                                                                                                                                                          15,407.00

           9
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          17,504.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                Case 13-35468-JHW                           Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                                  Desc Main
                                                                        Document      Page 33 of 68
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Brian D. Condella,                                                                                        Case No.
                 Anne M. Condella
                                                                                                                  ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                        B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 1868                                                                Pennsylvania National Mutual Casualty                          E
                                                                                                                                               D

Wexford and James, LLC
2910 Westown Parkway                                                        J
West Des Moines, IA 50266

                                                                                                                                                                     512.00
Account No.                                                                     Bank of America

Zwicker and Associates
800 Federal Street                                                          J
Andover, MA 01810

                                                                                                                                                                         1.00
Account No.




Account No.




Account No.




           10 of _____
Sheet no. _____    10 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                     513.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)              733,465.00


 Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                   Case 13-35468-JHW                       Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50                      Desc Main
                                                                       Document      Page 34 of 68
B6G (Official Form 6G) (12/07)


           a
           }
           n
           b
           d
           k
           1
           U
           {
           S
           e
           c
           x
           h
           p
           i
           r
           u
           l
           L
           G
           -
           s
           E
           t
           o
           y
           C




  In re             Brian D. Condella,                                                                          Case No.
                    Anne M. Condella
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                Case 13-35468-JHW                          Doc 1        Filed 11/20/13 Entered 11/20/13 13:44:50               Desc Main
                                                                       Document      Page 35 of 68
B6H (Official Form 6H) (12/07)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           H
           -
           C
           o
           t
           r
           s




  In re          Brian D. Condella,                                                                      Case No.
                 Anne M. Condella
                                                                                               ,
                                                                                   Debtors
                                                                   SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
Software Copyright (c) 1996-2013 - Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
          Case 13-35468-JHW                 Doc 1      Filed 11/20/13 Entered 11/20/13 13:44:50                               Desc Main
                                                      Document      Page 36 of 68

B6I (Official Form 6I) (12/07)
          Brian D. Condella
 In re    Anne M. Condella                                                                              Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                daughter                                                    7

Employment:                                          DEBTOR                                                   SPOUSE
Occupation                           self employed                                           self employed
Name of Employer                     Education Partners, LLC                                 Education Partners, LLC
How long employed                    5 years                                                 5 years
Address of Employer
                                    Westville, NJ                                            Westville, NJ
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            0.00
2. Estimate monthly overtime                                                                             $          0.00          $            0.00

3. SUBTOTAL                                                                                              $             0.00       $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $             0.00
     b. Insurance                                                                                        $             0.00       $             0.00
     c. Union dues                                                                                       $             0.00       $             0.00
     d. Other (Specify):                                                                                 $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         1,722.00       $        1,666.65
8. Income from real property                                                                             $             0.00       $            0.00
9. Interest and dividends                                                                                $             0.00       $            0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         1,722.00       $        1,666.65

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,722.00       $        1,666.65

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            3,388.65
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Case 13-35468-JHW            Doc 1     Filed 11/20/13 Entered 11/20/13 13:44:50                         Desc Main
                                               Document      Page 37 of 68

B6J (Official Form 6J) (12/07)
          Brian D. Condella
 In re    Anne M. Condella                                                                    Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,700.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   350.00
                   b. Water and sewer                                                                       $                    33.00
                   c. Telephone                                                                             $                     0.00
                   d. Other                                                                                 $                     0.00
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   800.00
5. Clothing                                                                                                 $                   100.00
6. Laundry and dry cleaning                                                                                 $                    20.00
7. Medical and dental expenses                                                                              $                    20.00
8. Transportation (not including car payments)                                                              $                   200.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   100.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                     0.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other hair, nails                                                                                       $                   100.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 3,423.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      rent is estimated
      expenses will increase significantly as income increases
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 3,388.65
b. Average monthly expenses from Line 18 above                                                              $                 3,423.00
c. Monthly net income (a. minus b.)                                                                         $                   -34.35
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50             Desc Main
                                                                     Document      Page 38 of 68
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                        District of New Jersey
            Brian D. Condella
 In re      Anne M. Condella                                                                                Case No.
                                                                                    Debtor(s)               Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of       30
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date November 20, 2013                                                 Signature   /s/ Brian D. Condella
                                                                                    Brian D. Condella
                                                                                    Debtor


 Date November 20, 2013                                                 Signature   /s/ Anne M. Condella
                                                                                    Anne M. Condella
                                                                                    Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
            Case 13-35468-JHW                          Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                       Desc Main
                                                                     Document      Page 39 of 68
B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                        District of New Jersey
             Brian D. Condella
 In re       Anne M. Condella                                                                                  Case No.
                                                                                  Debtor(s)                    Chapter        7

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $-566,811.00                          2012 loss partially offset by some income
                          $-559,580.00                          2011 loss partially offset by some income

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
             Case 13-35468-JHW                         Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                     Desc Main
                                                                     Document      Page 40 of 68

B7 (Official Form 7) (04/13)
2
               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                         DATES OF                                                      AMOUNT STILL
    OF CREDITOR                                                           PAYMENTS                            AMOUNT PAID                 OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                          DATES OF                                  PAID OR
                                                                          PAYMENTS/                               VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                              TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                     AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
 AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION
 Chase L00047910                                                        collections       Superior Court of NJ                            pending
 Citibank DC779610                                                                        Atlantic County
 Midland Funding DC00555513
 Hann Financial DC1249510
 RBS L212710

      None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
     BENEFIT PROPERTY WAS SEIZED                                        DATE OF SEIZURE              PROPERTY
 Chase                                                                                        100./monthly

 Hahn Financial                                                                               100./monthly



  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                    Desc Main
                                                                     Document      Page 41 of 68

B7 (Official Form 7) (04/13)
3
               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                       DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                     FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                    TRANSFER OR RETURN              PROPERTY
 Aurora Mortgage/Nations Bank                                        2011-2012                  41 Sunset Boulevard, Egg Harbor Township, NJ
                                                                                                08234

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                 TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                  DATE OF GIFT            VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                              DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                       LOSS WAS COVERED IN WHOLE OR IN PART
      OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS             DATE OF LOSS
 approximately $8,000.                                                    various casinos, debtor stopped gambling in 8/13 2012-2013




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                      Desc Main
                                                                     Document      Page 42 of 68

B7 (Official Form 7) (04/13)
4
               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                           DATE OF PAYMENT,                                 AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                         OR DESCRIPTION AND VALUE
     OF PAYEE                                                                THAN DEBTOR                                       OF PROPERTY
 Brian S. Thomas, LLC                                                                                                  $694.00
 327 Central Ave.
 Suite 103
 Linwood, NJ 08221

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                             DATE                            AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                 DATE(S) OF               VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                        TRANSFER(S)              IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                          TYPE OF ACCOUNT, LAST FOUR
                                                                          DIGITS OF ACCOUNT NUMBER,                     AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                           OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                            DATE OF SETOFF                                 AMOUNT OF SETOFF


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                     Desc Main
                                                                     Document      Page 43 of 68

B7 (Official Form 7) (04/13)
5
               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY               LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                 NAME USED                                     DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                 STATUS OR DISPOSITION




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                      Desc Main
                                                                     Document      Page 44 of 68

B7 (Official Form 7) (04/13)
6
               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN               ADDRESS                     NATURE OF BUSINESS               ENDING DATES
 Education Partners,
 LLC
 20 Cobblestone                                                       Deptford, NJ                daycare                          2006-2013
 Lane, LLC
 5 Tilton Road, LLC                XX-XXXXXXX                         Pleasantville, NJ 08232     real estate                      2007-2013
 6215 Black Horse                  XX-XXXXXXX                         Egg Harbor Township, NJ     real estate                      2004-2013
 Pike, LLC                                                            08234
 916 McGeary Place,                XX-XXXXXXX                         Mays Landing, NJ 08330      real estate                      2004-2013
 LLC
 150 40th Street, LLC              XX-XXXXXXX                         Brigantine, NJ 08203                                         2004-2013
 512 East Hilltop                  20-08336655                        Galloway, NJ                                                 2004-2013
 Drive, LLC
 530 West Ocean      XX-XXXXXXX                                       Linwood, NJ 08221                                            2004-2013
 Heights Avenue, LLC
 BC Rental Properties, XX-XXXXXXX                                     Somers Point, NJ 08244      no assets                        2004-2013
 LLC
 1410 Broad Street,                XX-XXXXXXX                         Pleasantville, NJ 08232     real estate                      2004-2013
 LLC
 2020 New Road, LLC                XX-XXXXXXX                         Linwood, NJ 08221           real estate                      2004-2013
 145 Woodland                      XX-XXXXXXX                         Pleasantville, NJ 08232     real estate                      2004-2013
 Avenue, LLC
 220 North 4th Street,             XX-XXXXXXX                         Pleasantville, NJ 08232     real estate                      2004-2013
 LLC
 10 Woodland                       XX-XXXXXXX                         Pleasantville, NJ 08232     real estate                      2004-2013
 Avenue, LLC

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                    ADDRESS




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                      Desc Main
                                                                     Document      Page 45 of 68

B7 (Official Form 7) (04/13)
7
    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED
 Brian Condella                                                                                            20 Cobblestone Lane, LLC
                                                                                                           Education Partners, LLC

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                   ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED
 Sun Bank                                                                                        2012
                                                                                                 20 Cobblestone Lane, LLC

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                                NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                              RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                       TITLE                              OF STOCK OWNERSHIP


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                           Desc Main
                                                                     Document      Page 46 of 68

B7 (Official Form 7) (04/13)
8
               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                                    DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                       TITLE                                  DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                            AMOUNT OF MONEY
 OF RECIPIENT,                                                          DATE AND PURPOSE                                   OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                      VALUE OF PROPERTY
 see profit and loss supplied to                                        debtor draws approximately
 Chapter 7 Trustee                                                      $3,000./month from Education Partners,
                                                                        LLC, debtor receives $1,000./month from
                                                                        McGeary, LLC

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                                ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date November 20, 2013                                                 Signature   /s/ Brian D. Condella
                                                                                    Brian D. Condella
                                                                                    Debtor


 Date November 20, 2013                                                 Signature   /s/ Anne M. Condella
                                                                                    Anne M. Condella
                                                                                    Joint Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50              Desc Main
                                                                     Document      Page 47 of 68

B8 (Form 8) (12/08)
                                                              United States Bankruptcy Court
                                                                        District of New Jersey
            Brian D. Condella
 In re      Anne M. Condella                                                                                Case No.
                                                                                    Debtor(s)               Chapter     7


                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                    Describe Property Securing Debt:
 Bank of America                                                                     150 40th Street
                                                                                     Brigantine, NJ

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                               Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                    Describe Property Securing Debt:
 Bank of America Mortgage                                                            Location: 41 Sunset Boulevard, Egg Harbor Township NJ
                                                                                     08234

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                               Not claimed as exempt




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50              Desc Main
                                                                     Document      Page 48 of 68

B8 (Form 8) (12/08)                                                                                                                        Page 2
 Property No. 3

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Citimortgage                                                                       Location: 916 McGeary Place, Mays Landing, NJ 08330

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

 Property No. 4

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Nationstar Mortgage                                                                Location: 41 Sunset Boulevard, Egg Harbor Township NJ
                                                                                    08234

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

 Property No. 5

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Nationstar Mortgage                                                                Location: 1410 Broad Street, Pleasantville, NJ 08232

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50              Desc Main
                                                                     Document      Page 49 of 68

B8 (Form 8) (12/08)                                                                                                                        Page 3
 Property No. 6

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Nationstar Mortgage                                                                Location: 1410 Broad Street, Pleasantville, NJ 08232

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

 Property No. 7

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Santander                                                                          2010 Ford Edge
                                                                                    90,000 miles

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                  Desc Main
                                                                     Document      Page 50 of 68

B8 (Form 8) (12/08)                                                                                                                            Page 4
 Property No. 8

 Creditor's Name:                                                                    Describe Property Securing Debt:
 Sun National Bank                                                                   Location: 20 Cobblestone Lane, Westville, NJ

 Property will be (check one):
        Surrendered                                                      Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                              Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                Describe Leased Property:                    Lease will be Assumed pursuant to 11
 -NONE-                                                                                                     U.S.C. § 365(p)(2):
                                                                                                               YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date November 20, 2013                                                 Signature   /s/ Brian D. Condella
                                                                                    Brian D. Condella
                                                                                    Debtor


 Date November 20, 2013                                                 Signature   /s/ Anne M. Condella
                                                                                    Anne M. Condella
                                                                                    Joint Debtor




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case 13-35468-JHW                          Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                     Desc Main
                                                                     Document      Page 51 of 68

                                                              United States Bankruptcy Court
                                                                        District of New Jersey
             Brian D. Condella
 In re       Anne M. Condella                                                                                 Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $            694.00 PrePet
             Prior to the filing of this statement I have received                                        $                     694.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. [Other provisions as needed]
               The Firm also agrees to accept $806. for post-petition legal services after rendered including representation at
               the 341(a) meeting of creditors. In addition to the said $806. fee, the Firm will bill the Debtor for all services
               based on an hourly rate. Other terms and conditions contained in the retainer agreement are incorporated by
               reference herein.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, reaffirmation agreements,
               relief from stay actions or any other adversary proceeding. Preparation and filing of motions pursuant to 11 USC
               522(f)(2)(A) for avoidance of liens on household goods. Retainer agreement is incorporated by reference herein.
                                                                           CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:                                                                          /s/ Brian S. Thomas
                                                                                 Brian S. Thomas
                                                                                 Brian S. Thomas, LLC
                                                                                 327 Central Ave.
                                                                                 Suite 103
                                                                                 Linwood, NJ 08221
                                                                                 609-601-6066 Fax: 609-601-6061
                                                                                 law4sure@technology21.com




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50       Desc Main
                                                                     Document      Page 52 of 68
B 201A (Form 201A) (11/12)



                                                     UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF NEW JERSEY
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50     Desc Main
                                                                     Document      Page 53 of 68
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                 Desc Main
                                                                     Document      Page 54 of 68


B 201B (Form 201B) (12/09)
                                                              United States Bankruptcy Court
                                                                        District of New Jersey
            Brian D. Condella
 In re      Anne M. Condella                                                                                Case No.
                                                                                  Debtor(s)                 Chapter        7

                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                        UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                        Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Brian D. Condella
 Anne M. Condella                                                                   X /s/ Brian D. Condella                    November 20, 2013
 Printed Name(s) of Debtor(s)                                                         Signature of Debtor                      Date

 Case No. (if known)                                                                X /s/ Anne M. Condella                     November 20, 2013
                                                                                      Signature of Joint Debtor (if any)       Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50    Desc Main
                                                                     Document      Page 55 of 68




                                                              United States Bankruptcy Court
                                                                        District of New Jersey
            Brian D. Condella
 In re      Anne M. Condella                                                                       Case No.
                                                                                   Debtor(s)       Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: November 20, 2013                                                /s/ Brian D. Condella
                                                                        Brian D. Condella
                                                                        Signature of Debtor

 Date: November 20, 2013                                                /s/ Anne M. Condella
                                                                        Anne M. Condella
                                                                        Signature of Debtor




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy
    Case 13-35468-JHW   Doc 1    Filed 11/20/13 Entered 11/20/13 13:44:50   Desc Main
                                Document      Page 56 of 68

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        Andrew Allegretto
                        Superior Court of NJ
                        PO Box 607
                        Somers Point, NJ 08244


                        ARMC Anesthesiologists
                        PO Box 8500-1521
                        Philadelphia, PA 19178


                        Atlantic Anesthesia and Pain Management
                        PO Box 9500-3400
                        Philadelphia, PA 19195


                        Atlantic County Chancery
                        1201 Bacharach Boulevard
                        Atlantic City, NJ 08401


                        Atlantic County Special Civil Part
                        1201 Bacharach Boulevard
                        Atlantic City, NJ 08401


                        Atlantic Medical Imaging
                        PO Box 1149
                        Mount Laurel, NJ 08054


                        Atlanticare Regional Medical Center
                        PO Box 8500 1266
                        Philadelphia, PA 19178


                        Atlanticare Surgery Center
                        106 Courthouse South Dennis Road
                        Cape May Court House, NJ 08210


                        Bank of America
                        PO Box 15719
                        Wilmington, DE 19886


                        Bank of America
                        PO Box 26078
                        Greensboro, NC 27410


                        Bank of America Mortgage
                        PO Box 26078
                        Greensboro, NC 27420
Case 13-35468-JHW   Doc 1    Filed 11/20/13 Entered 11/20/13 13:44:50   Desc Main
                            Document      Page 57 of 68


                    Barclay Bank/Spirit Airlines
                    PO Box 13337
                    Philadelphia, PA 19101


                    Berks Credit and Collection
                    PO Box 329
                    Temple, PA 19560


                    Brad D. Layton, Esquire
                    900 US Highway 9
                    Suite 401
                    Woodbridge, NJ 07095


                    Charter One
                    235 East Main Street
                    Rochester, NY 14604


                    Chase
                    PO Box 15153
                    Wilmington, DE 19886


                    Citibank
                    PO Box 6241
                    Sioux Falls, SD 57117


                    Citimortgage
                    PO Box 183040
                    Columbus, OH 43218


                    Drew Eckl, Esquire
                    PO Box 7600
                    Atlanta, GA 30357


                    Dyck-O'Neal, Inc.
                    PO Box 841776
                    Dallas, TX 75284


                    Dynia & Associates, LLC
                    4849 North Milwaukee Avenue
                    Chicago, IL 60630


                    Enhanced Recovery Corporation
                    8014 Bayberry Road
                    Jacksonville, FL 32256
Case 13-35468-JHW   Doc 1    Filed 11/20/13 Entered 11/20/13 13:44:50   Desc Main
                            Document      Page 58 of 68


                    Fia Card
                    PO Box 15019
                    Wilmington, DE 19884


                    Fox Rothchild, LLP
                    1301 Atlantic Avenue
                    Atlantic City, NJ 08401


                    Frederick J. Hanna and Associates
                    1655 Enterprise Way
                    Marietta, GA 30067


                    Gess Gess & Scanlon, PC
                    89 Hudson Street
                    Hoboken, NJ 07030


                    Guaranty Bank
                    4000 West Brown Deer Road
                    Milwaukee, WI 53209


                    Guaranty Bank
                    PO Box 245014
                    Milwaukee, WI 53224


                    Hann Financial
                    1 Centre Drive
                    Jamesburg, NJ 08831


                    Horry County Treasurer
                    PO Box 1237
                    Conway, NC 28528


                    IC Systems
                    444 Highway 96
                    Saint Paul, MN 55127


                    Joseph Allegretto
                    PO Box 353
                    Absecon, NJ 08201


                    MCM
                    PO Box 939019
                    San Diego, CA 92193
Case 13-35468-JHW   Doc 1    Filed 11/20/13 Entered 11/20/13 13:44:50   Desc Main
                            Document      Page 59 of 68


                    Midland Funding
                    8875 Aero Drive
                    San Diego, CA 92123


                    Nationstar Mortgage
                    PO Box 650783
                    Dallas, TX 75219


                    Nationstar Mortgage
                    PO Box 199400
                    Dallas, TX 75219


                    NCO
                    PO Box 4907
                    Trenton, NJ 08650


                    NES
                    29125 Solon Road
                    Solon, OH 44139


                    Northstar
                    4285 Genesee Street
                    Buffalo, NY 14225


                    Pioneer Credit
                    PO Box 1008
                    Moorestown, NJ 08057


                    Plaza Associates
                    PO Box 18008
                    Hauppauge, NY 11788


                    Pressler and Pressler
                    7 Entin Road
                    Parsippany, NJ 07054


                    Principal Bank
                    711 High Street
                    Des Moines, IA 50392


                    Ragan and Ragan
                    3100 Route 138 West
                    Wall, NJ 07719
Case 13-35468-JHW   Doc 1    Filed 11/20/13 Entered 11/20/13 13:44:50   Desc Main
                            Document      Page 60 of 68


                    RBS
                    PO Box 18204
                    Bridgeport, CT 06601


                    Santander
                    PO Box 961245
                    Fort Worth, TX 76161


                    Services Limited Partnership
                    PO Box 26999
                    San Diego, CA 92196


                    Solace Financial
                    File #749430
                    Los Angeles, CA 90074


                    State of New Jersey
                    Department of Taxation
                    PO Box 267
                    Trenton, NJ 08695-0267


                    State of New Jersey
                    PO Box 628
                    Trenton, NJ 08646


                    Stern Lavinthal et al
                    293 Eisenhower Parkway
                    Livingston, NJ 07039


                    Strategic Recovery
                    7880 Bent Branch Drive
                    Irving, TX 75063


                    Sun National Bank
                    226 West Landis Avenue
                    Vineland, NJ 08360


                    Sunrise Credit Services
                    PO Box 9100
                    Farmingdale, NY 11735


                    The Kancher Law Firm, LLC
                    100 Grove Street
                    Haddonfield, NJ 08033
Case 13-35468-JHW   Doc 1    Filed 11/20/13 Entered 11/20/13 13:44:50   Desc Main
                            Document      Page 61 of 68


                    Verizon
                    PO Box 4830
                    Trenton, NJ 08650


                    Wells Fargo
                    PO Box 3117
                    Winston Salem, NC 27102


                    Wexford and James, LLC
                    2910 Westown Parkway
                    West Des Moines, IA 50266


                    Zwicker and Associates
                    800 Federal Street
                    Andover, MA 01810
           Case 13-35468-JHW                            Doc 1         Filed 11/20/13 Entered 11/20/13 13:44:50                          Desc Main
                                                                     Document      Page 62 of 68
  B22A (Official Form 22A) (Chapter 7) (04/13)
           Brian D. Condella
 In re     Anne M. Condella                                                           According to the information required to be entered on this statement
                                       Debtor(s)                                        (check one box as directed in Part I, III, or VI of this statement):
 Case Number:                                                                                 The presumption arises.
                                 (If known)
                                                                                              The presumption does not arise.
                                                                                              The presumption is temporarily inapplicable.


                                 CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                           AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in Part I applies,
joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete separate statements if they
believe this is required by § 707(b)(2)(C).

                                                Part I. MILITARY AND NON-CONSUMER DEBTORS
             Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
             Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
             VIII. Do not complete any of the remaining parts of this statement.
    1A
                Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
             38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
             101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
             Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B       Do not complete any of the remaining parts of this statement.
                 Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
             Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
             Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
             2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
             at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
             days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
             required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
             temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
             are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
             which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
             before your exclusion period ends.
                Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C       that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
             National Guard

                                      a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                       I remain on active duty /or/
                                                       I was released from active duty on       , which is less than 540 days before this bankruptcy case was
                                      filed;

                                                   OR

                                      b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                             I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                           540 days before this bankruptcy case was filed.




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                   Desc Main
                                                                     Document      Page 63 of 68
  B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                               2

                        Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
             a.      Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
             b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
                   "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
     2             purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income")
                   for Lines 3-11.
             c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                   ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
             All figures must reflect average monthly income received from all sources, derived during the six          Column A           Column B
             calendar months prior to filing the bankruptcy case, ending on the last day of the month before
             the filing. If the amount of monthly income varied during the six months, you must divide the               Debtor's           Spouse's
             six-month total by six, and enter the result on the appropriate line.                                       Income             Income

     3       Gross wages, salary, tips, bonuses, overtime, commissions.                                            $                   $
             Income from the operation of a business, profession or farm. Subtract Line b from Line a and
             enter the difference in the appropriate column(s) of Line 4. If you operate more than one
             business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
             not enter a number less than zero. Do not include any part of the business expenses entered on
     4       Line b as a deduction in Part V.
                                                                         Debtor                 Spouse
              a.     Gross receipts                               $                      $
              b.     Ordinary and necessary business expenses $                          $
              c.     Business income                              Subtract Line b from Line a               $                          $
             Rent and other real property income. Subtract Line b from Line a and enter the difference in
             the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
             part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                 Debtor                Spouse
              a.    Gross receipts                              $                      $
              b.    Ordinary and necessary operating expenses $                        $
              c.    Rent and other real property income         Subtract Line b from Line a                        $                   $
     6       Interest, dividends, and royalties.                                                                   $                   $
     7       Pension and retirement income.                                                                        $                   $
             Any amounts paid by another person or entity, on a regular basis, for the household
             expenses of the debtor or the debtor's dependents, including child support paid for that
     8       purpose. Do not include alimony or separate maintenance payments or amounts paid by your
             spouse if Column B is completed. Each regular payment should be reported in only one column;
             if a payment is listed in Column A, do not report that payment in Column B.                           $                   $
             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
             However, if you contend that unemployment compensation received by you or your spouse was a
             benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9       or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security Act Debtor $                    Spouse $                      $                   $
             Income from all other sources. Specify source and amount. If necessary, list additional sources
             on a separate page. Do not include alimony or separate maintenance payments paid by your
             spouse if Column B is completed, but include all other payments of alimony or separate
             maintenance. Do not include any benefits received under the Social Security Act or payments
             received as a victim of a war crime, crime against humanity, or as a victim of international or
    10       domestic terrorism.
                                                                        Debtor                   Spouse
              a.                                                  $                      $
              b.                                                  $                      $
             Total and enter on Line 10                                                                            $                   $
    11       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
             Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).               $                            $



Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                    Desc Main
                                                                     Document      Page 64 of 68
  B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                            3

             Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12       Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
             the amount from Line 11, Column A.                                                                    $

                                                Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
             enter the result.                                                                                                      $
             Applicable median family income. Enter the median family income for the applicable state and household size.
    14       (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
              a. Enter debtor's state of residence:                            b. Enter debtor's household size:                    $
             Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15         The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
               top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
               The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                         Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)
                         Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16       Enter the amount from Line 12.                                                                                         $
             Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
             Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
             dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
             spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
             amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17       not check box at Line 2.c, enter zero.
              a.                                                                             $
              b.                                                                             $
              c.                                                                             $
              d.                                                                             $
             Total and enter on Line 17                                                                                             $
    18       Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                            $

                                         Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                   Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
             National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
             Standards for Food, Clothing and Other Items for the applicable number of persons. (This information is available
   19A       at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable number of persons is the number
             that would currently be allowed as exemptions on your federal income tax return, plus the number of any
             additional dependents whom you support.                                                                              $
             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
             who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
             older. (The applicable number of persons in each age category is the number in that category that would currently
             be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
   19B
             you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
             Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
             c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                          Persons under 65 years of age                         Persons 65 years of age or older
              a1.     Allowance per person                            a2.      Allowance per person
              b1.     Number of persons                               b2.      Number of persons
              c1.     Subtotal                                        c2.      Subtotal                                           $
             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
             Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   20A       available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support.                                                                            $



Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                    Desc Main
                                                                     Document      Page 65 of 68
  B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                             4

             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
             Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
             available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
             the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
             any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   20B       debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do
             not enter an amount less than zero.
              a.    IRS Housing and Utilities Standards; mortgage/rental expense $
              b.    Average Monthly Payment for any debts secured by your
                    home, if any, as stated in Line 42                               $
              c.    Net mortgage/rental expense                                      Subtract Line b from Line a.                    $
             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
             20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21       Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
             contention in the space below:
                                                                                                                                     $
             Local Standards: transportation; vehicle operation/public transportation expense.
             You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
             vehicle and regardless of whether you use public transportation.
             Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
             included as a contribution to your household expenses in Line 8.
   22A
                   0     1        2 or more.
             If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
             Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
             Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
             Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $
             Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
             for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   22B       you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
             Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
             court.)                                                                                                                $
             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
             you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
             vehicles.)
                   1     2 or more.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
             Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter
             the result in Line 23. Do not enter an amount less than zero.
              a.       IRS Transportation Standards, Ownership Costs                 $
                       Average Monthly Payment for any debts secured by Vehicle
              b.       1, as stated in Line 42                                       $
              c.       Net ownership/lease expense for Vehicle 1                     Subtract Line b from Line a.                    $
             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
             the "2 or more" Box in Line 23.
             Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
             (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    24       Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter
             the result in Line 24. Do not enter an amount less than zero.
              a.       IRS Transportation Standards, Ownership Costs                 $
                       Average Monthly Payment for any debts secured by Vehicle
              b.       2, as stated in Line 42                                       $
              c.       Net ownership/lease expense for Vehicle 2                     Subtract Line b from Line a.                    $
             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    25       state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
             security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
              Case 13-35468-JHW                            Doc 1         Filed 11/20/13 Entered 11/20/13 13:44:50                                   Desc Main
                                                                        Document      Page 66 of 68
    B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                                            5

                Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
      26        deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
                Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $
                Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
      27        life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
                any other form of insurance.                                                                                                          $
                Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
      28        pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
                include payments on past due obligations included in Line 44.                                                                         $
                Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
      29        the total average monthly amount that you actually expend for education that is a condition of employment and for
                education that is required for a physically or mentally challenged dependent child for whom no public education
                providing similar services is available.                                                                          $

      30        Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
                childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                         $
                Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
      31        health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
                insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
                include payments for health insurance or health savings accounts listed in Line 34.                                                   $
                Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
      32        actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
                pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
                welfare or that of your dependents. Do not include any amount previously deducted.                                                    $
      33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                                   $

                                                 Subpart B: Additional Living Expense Deductions
                                        Note: Do not include any expenses that you have listed in Lines 19-32
                Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
                the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
                dependents.
      34
                 a.         Health Insurance                                                $
                 b.         Disability Insurance                                            $
                 c.         Health Savings Account                                          $                                                         $
                Total and enter on Line 34.
                If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
                below:
                $
                Continued contributions to the care of household or family members. Enter the total average actual monthly
      35        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
                ill, or disabled member of your household or member of your immediate family who is unable to pay for such
                expenses.                                                                                                                             $
                Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
      36        actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
                other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                          $
                Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
      37        Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
                trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
                claimed is reasonable and necessary.                                                                            $
                Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
                actually incur, not to exceed $156.25* per child, for attendance at a private or public elementary or secondary
      38        school by your dependent children less than 18 years of age. You must provide your case trustee with
                documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
                necessary and not already accounted for in the IRS Standards.                                                                         $
*   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           Case 13-35468-JHW                           Doc 1          Filed 11/20/13 Entered 11/20/13 13:44:50                   Desc Main
                                                                     Document      Page 67 of 68
  B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                             6

             Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
             expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39       Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
             or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
             reasonable and necessary.                                                                                               $

    40       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
             financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                             $
    41       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                              $

                                                           Subpart C: Deductions for Debt Payment
             Future payments on secured claims. For each of your debts that is secured by an interest in property that you
             own, list the name of the creditor, identify the property securing the debt, state the Average Monthly Payment, and
    42       check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
             scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
             case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly
             Payments on Line 42.
                    Name of Creditor                   Property Securing the Debt               Average Monthly Does payment
                                                                                                         Payment include taxes
                                                                                                                    or insurance?
               a.                                                                             $                        yes no
                                                                                                 Total: Add Lines                    $
             Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
             motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43       your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
             payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
             sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
             the following chart. If necessary, list additional entries on a separate page.
                    Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
               a.                                                                              $
                                                                                                               Total: Add Lines      $
             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44       priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
             not include current obligations, such as those set out in Line 28.                                                      $
             Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the following
             chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

              a.       Projected average monthly chapter 13 plan payment.                    $
    45        b.       Current multiplier for your district as determined under schedules
                       issued by the Executive Office for United States Trustees. (This
                       information is available at www.usdoj.gov/ust/ or from the clerk of
                       the bankruptcy court.)                                                x
              c.       Average monthly administrative expense of chapter 13 case             Total: Multiply Lines a and b           $
    46       Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                              $

                                                          Subpart D: Total Deductions from Income
    47       Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                             $

                                          Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48       Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                  $
    49       Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                       $
    50       Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                        $

    51       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
             result.                                                                                                                 $




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
              Case 13-35468-JHW                            Doc 1         Filed 11/20/13 Entered 11/20/13 13:44:50                                          Desc Main
                                                                        Document      Page 68 of 68
    B22A (Official Form 22A) (Chapter 7) (04/13)                                                                                                                                    7

                Initial presumption determination. Check the applicable box and proceed as directed.
                   The amount on Line 51 is less than $7,475*. Check the box for "The presumption does not arise" at the top of page 1 of this
                statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
      52
                   The amount set forth on Line 51 is more than $12,475* Check the box for "The presumption arises" at the top of page 1 of this
                statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                      The amount on Line 51 is at least $7,475*, but not more than $12,475*. Complete the remainder of Part VI (Lines 53 through 55).
      53        Enter the amount of your total non-priority unsecured debt                                                                                    $
      54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                        $
                Secondary presumption determination. Check the applicable box and proceed as directed.
                    The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page 1
      55        of this statement, and complete the verification in Part VIII.
                   The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
                of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                           Part VII. ADDITIONAL EXPENSE CLAIMS
                Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                you and your family and that you contend should be an additional deduction from your current monthly income under §
                707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
                each item. Total the expenses.
      56
                         Expense Description                                                                                                     Monthly Amount
                 a.                                                                                                        $
                 b.                                                                                                        $
                 c.                                                                                                        $
                 d.                                                                                                        $
                                                                          Total: Add Lines a, b, c, and d                  $

                                                                          Part VIII. VERIFICATION
                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
                must sign.)
                              Date: November 20, 2013                                       Signature: /s/ Brian D. Condella
                                                                                                         Brian D. Condella
      57                                                                                                            (Debtor)

                                  Date:       November 20, 2013                                               Signature        /s/ Anne M. Condella
                                                                                                                                Anne M. Condella
                                                                                                                                         (Joint Debtor, if any)




*   Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
